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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                 Eastern District of New York

                         Ever Montoya                          )
                                                               )
                                                               )
                                                               )
                            Plaintiff(s)                       )
                                                               )
                                v.                                     Civil Action No. 2:24-cv-00504-JMA-LGD
                                                               )
   The Theo MT Thai LLC, Thanida Nguyen, Khoa                  )
                     Nguyen
                                                               )
                                                               )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: 1/D  ,,, d ,          d dd ) The Theo MT Thai LLC - 621 Hicksville Road, Bethpage, New York
      • e1 en ants name an a  ress     .                 .     .
         •                         Thanida Nguyen - 621 H1cksv1lle Road, Bethpage, New York
                                   Khoa Nguyen - 621 Hicksville Road, Bethpage, New York




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: The NHG ~aw Group, P.C.
                                4242 Merrick Road
                                Massapequa, New York 11758
                                (516) 228-5100




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT


Date:
                 1/24/2024
                                                                                    gnature   lerkor.Deputy Clerk
          Case 2:24-cv-00504-JMA-LGD Document 4 Filed 01/24/24 Page 2 of 2 PageID #: 23

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 Civil Action No. 2:24-cv-00504-JMA-LGD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
         ------------------
           on (date)                               , and mailed a copy to the individual's last known address; or

          0 I served the summons on (name of individual)                                                                       , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

          0 I returned the summons unexecuted because                                                                               ; or

          0 Other (specify):




          My fees are$                             for travel and $                  for services, for a total of $          0.00

          I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
